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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

HALLIBURTON COMPANY,                                  §
                                                      §
                                                      §
                              Plaintiff,              §
                                                      §
v.                                                    §     Civil Action No. ________
                                                      §
UNITED STATES OF AMERICA,                             §
                                                      §
                              Defendant.              §


                                             COMPLAINT


       Plaintiff, Halliburton Company (“Halliburton” or “Plaintiff”), on behalf of itself and its

consolidated subsidiaries, files this Complaint for the recovery of federal income taxes improperly

assessed and collected by Defendant, United States of America, plus interest thereon as provided

by law. Plaintiff alleges and states the following:

                              I.    NATURE OF THE ACTION

       1.      This action arises under the Internal Revenue Code of 1986, as amended and

codified in Title 26 of the United States Code (the “Code”), for the recovery of federal income

taxes erroneously or illegally assessed and collected by Defendant in the amount of $11,375,000

with respect to Halliburton’s tax year ended December 31, 2010 (the “2010 Tax Year”), plus

interest thereon as provided by law.

                                       II.   THE PARTIES

       2.      Halliburton is an energy services company. Halliburton is incorporated under the

laws of the State of Delaware, with its principal place of business at 3000 N. Sam Houston Parkway
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E., Houston, Texas 77032-3219. Its shares are publicly traded on the New York Stock Exchange

under the symbol HAL.

       3.      Halliburton is the parent of an affiliated group of corporations within the meaning

of Section 1504 of the Code for the 2010 Tax Year. Halliburton and its affiliated group joined in

filing a consolidated federal income tax return for the 2010 Tax Year, as well as an amended

federal income tax return for the 2010 Tax Year. As the common parent of its affiliated group,

Halliburton is the appropriate party to file this Complaint.

       4.      Defendant is the United States of America. The acts described herein were

performed by agents of the Internal Revenue Service (the “IRS”), a bureau of the U.S. Department

of the Treasury. Service of process may be made on Defendant by registered mail, return receipt

requested to the following:

                   a. Merrick B. Garland
                      Attorney General for the United States
                      U.S. Department of Justice
                      950 Pennsylvania Ave., N.W.
                      Washington, D.C. 20530-0001

                   b. Alamdar Hamdani
                      United States Attorney
                      Southern District of Texas
                      c/o Civil Process Clerk
                      1000 Louisiana St., Suite 2300
                      Houston, TX 77002

                   c. Department of the Treasury
                      Internal Revenue Service
                      c/o Marjorie Rollinson
                      Chief Counsel
                      1111 Constitution Ave., N.W.
                      Washington, D.C. 20224




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                           III.    JURISDICTION AND VENUE

         5.    This is an action for the recovery of federal income taxes erroneously or illegally

assessed and collected from Halliburton for the 2010 Tax Year. This Court has jurisdiction over

this action pursuant to 26 U.S.C. § 6532(a)(1), 26 U.S.C. § 7422(a), and 28 U.S.C. § 1346(a)(1).

         6.    Halliburton timely filed its federal income tax return for the 2010 Tax Year.

         7.    Halliburton made full and timely payment of its federal income tax liability for the

2010 Tax Year as required by 28 U.S.C. § 1346(a)(1).

         8.    On December 21, 2018, Halliburton timely filed Form 1120X, Amended U.S.

Corporation Income Tax Return, for its 2010 Tax Year by certified mail with the IRS Service

Center in Ogden, Utah, claiming a refund of federal income tax paid in the amount of $11,375,000

plus statutory interest (the “Refund Claim”).

         9.    Halliburton timely filed the Refund Claim as required by 26 U.S.C. § 7422(a).

         10.   Halliburton’s Refund Claim has not been allowed or paid by the IRS.

         11.   By letter dated December 13, 2022, the IRS disallowed Halliburton’s Refund

Claim.

         12.   Halliburton timely files this Complaint for refund of federal income taxes within

the period prescribed by 26 U.S.C. § 6532(a)(1).

         13.   For the reasons set forth in paragraphs 7, 9, and 12, jurisdiction is proper.

         14.   Venue for this action properly lies in this District pursuant to 28 U.S.C. § 1402(a)(2)

because Halliburton’s principal place of business is in Houston, Texas, within this judicial district.

Intra-district venue is proper in the Houston Division pursuant to 28 U.S.C. § 124(b)(2).




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                            IV.     FACTUAL BACKGROUND

The Settlement Payment

       15.     Halliburton is one of the world’s largest providers of products and services to the

oil and gas industry. It supports oil and gas projects around the globe, including in North America,

Latin America, Europe, Africa, the Middle East and Asia. The nature of Halliburton’s business

exposes it to risk of unsettled political conditions in the countries where it conducts business,

including expropriation or similar governmental actions. Despite these risks, the success of

Halliburton’s business depends on cooperative relationships with the governments of the countries

in which it operates.

       16.     In the Fall of 2010, Halliburton was contacted by a representative acting on behalf

of the government (“Foreign Government”) of a foreign country (“Foreign Country”) in which

Halliburton had employees and significant operations. The representative demanded payment

from Halliburton and claimed that Foreign Government would bring a billion dollar civil suit in

the U.S. against Halliburton for alleged bribery. That claim was baseless. The U.S. Department

of State described Foreign Country as facing “formidable challenges of terrorist attacks, inter-

communal conflicts, crime and kidnapping, and public mistrust of the government.” The U.S.

Department of State also has noted that Foreign Government “has yet to develop effective systems

to address corruption, poverty, and ineffective social service delivery.”

       17.     On or about November 8, 2010, representatives of Halliburton met with

representatives of Foreign Government.        At that meeting, the representatives of Foreign

Government again demanded payment. Halliburton declined to make a payment in response to

that demand.




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       18.     On November 25, 2010, Thanksgiving Day in the United States, Foreign

Government raided Halliburton’s offices in Foreign Country and arrested or detained eight

employees. Upon learning of these events, Halliburton began to take immediate steps to protect

the safety and well-being of its employees in Foreign Country and to deal with the interruption of

its business operations.

       19.     On or about November 29, 2010, Halliburton wrote a letter to Foreign Government,

which provided, in pertinent part: “Halliburton has been involved with the development of oil &

gas resources in [Foreign Country] for many years, having provided oilfield services to numerous

customers there since the 1950’s. Our commitment there is evidenced by our employment of over

750 people in the country, our efforts to train and promote [local] citizens for leadership positions,

and our relationships with other businesses in the [local] economy. We hope to be able to continue

this activity for many years into the future.”

       20.     On or about December 1, 2010, Foreign Government wrote a letter to Halliburton,

which reiterated the demand for payment and threatened to “activate alternative steps” if its

demand was not met within 30 days. Such steps included actions designed to impede the ability

of Halliburton’s executives to travel and conduct business not only in Foreign Country but in other

jurisdictions where Halliburton conducted important operations.

       21.     On or about December 7, 2010, Foreign Government reported that it had brought

charges against Halliburton, its affiliates and several executives. Of the sixteen counts in the

charges, only one carried a statutory fine or penalty; that charge carried a statutorily prescribed

potential fine of approximately $130 at prevailing exchange rates. These charges were baseless.

       22.     On or about December 11, 2010, Halliburton and Foreign Government entered into

a settlement agreement (the “Settlement Agreement”), pursuant to which Halliburton paid



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$35,000,000 to Foreign Government, including legal fees paid on behalf of Foreign Government,

in 2010 (the “Settlement Payment”). Halliburton paid the Settlement Payment to protect its

employees and reputation, prevent disruption of its business, and ensure that its executives could

freely travel. Halliburton did not pay any portion of the Settlement Payment for a fine or similar

penalty.

       23.     The language of the Settlement Agreement confirms that no portion of the

Settlement Payment was for a fine or similar penalty. Under the express terms of the Settlement

Agreement, the parties recognized that Halliburton has “extensive business interests” in Foreign

Country and that Halliburton “intend[ed] to continue its regular business activities, including but

not limited to submitting bids for other future projects.” Foreign Government agreed “not [to] take

any steps to suggest or enforce any exclusion, restriction, limitation, disadvantage or debarment

which prevents [Halliburton] from actively executing [its] existing projects, pursuing [its] business

and bidding for other or further projects or work within” Foreign Country. The Settlement

Agreement further provides that “The Parties have agreed to enter into this Agreement solely to

put to rest all controversy and to avoid the burden, inconvenience and expense of further protracted

and costly litigation.”   The Settlement Agreement makes clear that it “contains the entire

understanding and agreement between [Foreign Country] and Halliburton ….”

       24.     By contrast, the terms “fine” or “penalty” do not appear in the Settlement

Agreement and the Settlement Payment is not attributed to any “fine” or “penalty.”

Halliburton’s Federal Income Tax Reporting of the Settlement Payment

       25.     For the 2010 Tax Year, Halliburton properly claimed a $35,000,000 deduction from

its gross income for federal income tax purposes for the Settlement Payment as an ordinary and

necessary expense of carrying on Halliburton’s business.



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          26.   The Code in effect for the 2010 Tax Year provided a broad command: “There shall

be allowed as a deduction all the ordinary and necessary expenses paid or incurred … in carrying

on any trade or business.” 26 U.S.C. § 162(a) (emphases added).

          27.   Amounts paid to protect employees and ongoing business operations, such as the

Settlement Payment, are deductible as ordinary and necessary expenses under Code Section

162(a).

          28.   Code Section 162(f) as in effect for the 2010 Tax Year provided that no deduction

is allowed for “any fine or similar penalty paid to a government for the violation of any law.”

Where a statute’s “general statement of policy is qualified by an exception,” courts usually “read

the exception narrowly in order to preserve the primary operation of the provision.” Knight v.

Comm’r, 552 U.S. 181, 190 (2008).

          29.   The legislative history of Section 162(f) is clear that the limitation on Section

162(a) deductibility for a “fine or similar penalty” would apply only in the narrow (and easily

determined) situation in which the taxpayer has been convicted in a formal criminal proceeding.

S. Rep. No. 91-552, at 274 (1969). This was a codification of case law existing at the time

Congress enacted Section 162(f). Id.

          30.   The Treasury Department promulgated regulations under Section 162, including a

regulation that substantially expanded the narrow exception under Section 162(f). As in effect for

the 2010 Tax Year, Treasury Regulation (26 C.F.R.) § 1.162-21(b)(1)(iii) (the “Potential Penalty

Regulation”) defined “fine or similar penalty” as including an amount “[p]aid in settlement of the

taxpayer’s actual or potential liability for a fine or penalty (civil or criminal).” (Emphasis added.)

          31.   The Treasury Department first proposed the Potential Penalty Regulation in the

Federal Register for December 6, 1972 (37 F.R. 25936) and later promulgated that regulation on



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February 20, 1975 (40 F.R. 7437). The only consideration of public comments submitted in

response to the proposed Potential Penalty Regulation is reflected in a Technical Memorandum

issued contemporaneous with the 1975 rule. That Technical Memorandum states, in pertinent part,

the following:

       [C]omments, including those offered by the Interna[tiona]l Association of Ice
       Cream Manufacturers – Milk Industry Foundation, to the effect that a deduction for
       a payment should not be disallowed unless the illegality of the payment is proven
       in a separate proceeding, or unless a penalty or sanction is actually imposed upon
       the taxpayer as a result of making the payment, were rejected in light of the
       amendment made by the Revenue Act of 1971 to section 162(c) and the
       accompanying Senate Finance Committee report.

Internal Revenue Service, Technical Memo. (Jan. 30, 1975), 1975 WL 40069. The referenced

amendment made by the Revenue Act of 1971 describes an amendment to a different provision of

Section 162, however, not the “fine or similar penalty” language of Section 162(f).

       32.       The IRS erroneously disallowed $32,500,000 of the $35,000,000 total deduction

for the Settlement Payment claimed by Halliburton by relying on the Potential Penalty Regulation.

       33.       Because of the erroneous determination described in paragraph 32, the IRS

erroneously and illegally refused to refund the amount requested in the Refund Claim.

                                 V.    CLAIMS FOR RELIEF

                                         Count One
                     (Overpayment of Federal Income Tax, 26 U.S.C. § 7422)

       34.       Halliburton repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as if fully set forth herein.

       35.       The IRS erroneously and illegally denied Halliburton’s Refund Claim for the

overpayment of tax and interest for the 2010 Tax Year relating to the Settlement Payment. The

grounds upon which the IRS denied the claim are erroneous, unsupported by the facts, and contrary

to applicable law.


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       36.     Therefore, Halliburton overpaid its federal income taxes for the 2010 Tax Year and

is entitled to a refund of assessed and paid taxes in the amount of $11,375,000, together with

statutory interest as provided by law.

                                         Count Two
               (Violation of the Administrative Procedure Act, 5 U.S.C. § 706)

       37.     Halliburton repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as if fully set forth herein.

       38.     The Administrative Procedure Act (“APA”) requires an agency to publish “either

the terms or substance of the proposed rule or a description of the subjects and issues involved” in

its proposed rulemaking and “give interested persons an opportunity to participate in the rule

making.” 5 U.S.C. § 553(b)(3), (c). The APA further requires an agency to “incorporate in the

rules adopted a concise general statement of their basis and purpose.” Id. § 553(c).


       39.     The APA requires this Court to “hold unlawful and set aside agency action,

findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law; ... [or] without observance of procedure required by law.” Id.

§ 706(2)(A), (D).

       40.     The Potential Penalty Regulation was promulgated “without observance of

procedure required by law” because, among other things, the Treasury Department failed to

respond meaningfully to comments received. The Potential Penalty Regulation is also arbitrary,

capricious, and an abuse of discretion because, among other things, the Treasury Department failed

to provide a reasoned statement of the Regulation’s basis and purpose and otherwise failed to

provide a reasoned explanation for the choices made in the Regulation.

       41.     Accordingly, the Potential Penalty Regulation violates 5 U.S.C. § 553, and it was

arbitrary and unlawful for the IRS to rely on the Potential Penalty Regulation in denying

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Halliburton’s Refund Claim; the Proposed Penalty Regulation should also be declared unlawful

and set aside under the APA. Id. § 706(2).

                                      Count Three
              (Treasury Regulation (26 C.F.R.) § 1.162-21(b)(1)(iii) Is Invalid,
             Mayo Found. for Med. Educ. & Research v. U.S., 562 U.S. 44 (2011))

       42.     Halliburton repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as if fully set forth herein.

       43.     A regulation that is inconsistent with, or an unreasonable interpretation of, the

statute under which it was enacted is invalid. The framework determined by the U.S. Supreme

Court requires a Court to determine (1) whether Congress has “directly addressed the precise

question at issue,” and (2) if not, whether the agency rule is “arbitrary or capricious in substance,

or manifestly contrary to the statute.” Mayo Found. for Med. Educ. & Research v. U.S., 562 U.S.

44, 52-53 (2011); accord Chevron U.S.A. Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984).

       44.     Treasury Regulation (26 C.F.R.) § 1.162-21(b)(1)(iii) is inconsistent with 26 U.S.C.

§ 162 and cannot be defended under the framework articulated in Mayo or Chevron and the

Treasury Department’s interpretation should not be accorded deference. Loper Bright Enters. v.

Raimondo, 143 S. Ct. 2429 (2023) (granting certiorari to address whether Chevron should be

overruled or clarified).

       45.     Accordingly, it was arbitrary and unlawful for the IRS to rely on the Potential

Penalty Regulation in denying Halliburton’s Refund Claim; in addition, the Potential Penalty

Regulation is invalid and, therefore, should be declared unlawful and set aside.




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                               VI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment:

       (A)     in favor of Halliburton and against the United States of America, in the total amount

of $11,375,000, or such greater amount as this Court may determine to be legally refundable,

together with statutory interest thereon as provided by law, and

       (B)     awarding Halliburton its costs, including attorney’s fees, and such other and further

relief as this Court deems just and proper.

DATED: June 6, 2024                                          Respectfully submitted,

                                                             /s/    George M. Gerachis
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                                                             Attorney-in-Charge
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